Case 3:16-ms-00006 Document “COPY 1of5
AO 88B (Rev. 01/09) Subpoena to Produce Documents, Information, or Objects or to Permi?Mispecti Prévitises

UNITED STATES DISTRICT COURT

 

 

for the
District of Nevada
In re DMCA Subpoena to Laughlin Associates, Inc.
lama 3:16-ms-00006
V. ) Civil Action No.
)
) (If the action is pending in another district, state where:
Defendant )

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES

To: 8 chan Custodian of Records, c/o N.T. Technologies, Inc. c/o Laughlin Associates, Inc., 9120 Double Diamond
Parkway, Reno, Nevada 89521

& Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
material: See Exhibit "A"

 

Place: aminc@dhplaw.com Date and Time:
04/15/2016 10:00

 

 

 

 

O Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

Place: Date and Time:

 

 

 

 

 

The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule

45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
attached.

Date: \ Ly \\Lo

         

 

Attorney's signature

 

 

representing (name of party) PG Ventures
, who issues or requests this subpoena, are:

Aaron Minc, Esq., Dinn, Hochman & Potter, LLC, 5910 Landerbrook Drive, Suite 200, Cleveland, Ohio 44124,
aminc@dhplaw.com; phone: 440-446-110; fax: 440-446-1240

 

 

 
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Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)

(c) Protecting a Person Subject to a Subpoena.

(1) Avoiding Undue Burden or Expense; Sanctions. A patty or
attomey responsible for issuing and serving a subpoena must take
reasonable steps to avoid imposing undue burden or expense on a
person subject to the subpoena. The issuing court must enforce this
duty and impose an appropriate sanction -— which may include lost
earnings and reasonable attorney’s fees — on a party or attorney
who fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or
to permit the inspection of premises, need not appear in person at the
place of production or inspection unless also commanded to appear
for a deposition, hearing, or trial.

(B) Objections. A person commanded to produce documents or
tangible things or to permit inspection may serve on the party or
attorney designated in the subpoena a written objection to
inspecting, copying, testing or sampling any or all of the materials or
to inspecting the premises — or to producing electronically stored
information in the form or forms requested. The objection must be
served before the earlier of the time specified for compliance or 14
days after the subpoena is served. If an objection is made, the
following rules apply:

(i) At any time, on notice to the commanded person, the serving
party may move the issuing court for an order compelling production
or inspection.

(ii) These acts may be required only as directed in the order, and
the order must protect a person who is neither a party nor a party’s
officer from significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the issuing court must
quash or modify a subpoena that: rf

(i) fails to allow a reasonable time to comply;

(ii) requires a person who is neither a pasty nor a party’s officer
to travel more than 100 miles from where that person resides, is
employed, or regularly transacts business in person — except that,
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to
attend a trial by traveling from any such place within the state where
the trial is held;

(iii) requires disclosure of privileged or other protected matter, if
no exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by
a subpoena, the issuing court may, on motion, quash or modify the
subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information;

(it) disclosing an unretained expert’s opinion or information that
does not describe specific occurrences in dispute and results from
the expert’s study that was not requested by a party; or

(iii) a person who is neither a party nor a party’s officer to incur
substantial expense to travel more than 100 miles to attend trial.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:

(i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably
compensated.

(d) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information.
These procedures apply to producing documents or electronically
stored information:

(A) Documents. A person responding to a subpoena to produce
documents must produce them as they are kept in the ordinary
course of business or must organize and label them to correspond to
the categories in the demand.

(B) Form for Producing Electronically Stored Information Not
Specified. If a subpoena does not specify a form for producing
electronically stored information, the person responding must
produce it in a form or forms in which it is ordinarily maintained or
in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One
Form. The person responding need not produce the same
electronically stored information in more than one form.

(D) Inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored
information from sources that the person identifies as not reasonably
accessible because of undue burden or cost. On motion to compel
discovery or for a protective order, the person responding must show
that the information is not reasonably accessible because of undue
burden or cost. If that showing is made, the court may nonetheless
order discovery from such sources if the requesting party shows
good cause, considering the limitations of Rule 26(b)(2)(C). The
court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed
information under a claim that it is privileged or subject to
protection as trial-preparation material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents,
communications, or tangible things in a manner that, without
revealing information itself privileged or protected, will enable the
parties to assess the claim.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as trial-
preparation material, the person making the claim may notify any
party that received the information of the claim and the basis for it.
After being notified, a party must promptly return, sequester, or
destroy the specified information and any copies it has; must not use
or disclose the information until the claim is resolved; must take
reasonable steps to retrieve the information if the party disclosed it
before being notified; and may promptly present the information to
the court under seal for a determination of the claim. The person
who produced the information must preserve the information until
the claim is resolved.

(e) Contempt. The issuing court may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena. A nonparty’s failure to obey must be excused if the
subpoena purports to require the nonparty to attend or produce at a
place outside the limits of Rule 45(c)(3)(A)(ii).
 

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HOCHMAN ff Cleveland, Ohio 44124
440-446-1100
Sh 440.446.1240 (FAX)

dhp@dhplaw.com (E-Mail)
POTTER, LLC www.dhplaw.com

 

 

Writer's Direct Dial

 

ATTORNEYS encnctoenptan.com
March 25, 2016
VIA OVERNIGHT DELIVERY
8 chan

c/o N.T. Technologies, Inc.
c/o Laughlin Associates, Inc., 9120 Double
Diamond Parkway, Reno, Nevada 89521

Re: Copyright Infringement

I am an attorney with authority to act on behalf of PG Ventures. It has come to our
attention that your website is infringing several copyrighted materials owned by PG Ventures.

PG Ventures is a webcam modelling company and on several pages of your website,
people have illegally, and without authorization, posted copies of the company’s property, that
consists of webcam videos and screen shots of the videos and their models. Links to
unauthorized copies of these videos have also been posted on these threads with purposeful
intent to distribute and facilitate illegal online copying and distribution of the unauthorized
material. Accordingly, we request that all of this material be taken down and that because of the
ongoing use of these threads to purposely facilitate infringement, the occurrence and risk of
repeat infringement, that both are removed in their entirety from your website and it’s servers.

The photographs, videos, and other content that PG Ventures owns the copyrights to and
links to other infringing material is located at the following URLs:

https://media.8ch.net/auca/src/1457975562770.webm
https://media.8ch.net/auca/sre/1451525493450-1.webm
http://8ch.net/wx/res/42549. html
http://8ch.net/wx/sre/1448660558972-0.webm
http://8ch.net/wx/sre/1449572390395.png
http://8ch.net/wx/sre/1449572421795 jpg
http://8ch.net/wx/sre/1449572468390.webm
http://8ch.net/wx/sre/1449572578597.webm
http://8ch.net/wx/sre/1449574604767 jpg
http://8ch.net/wx/res/42549.htm1#44457
http://8ch.net/wx/res/42549.html#45003
http://8ch.net/wx/sre/1450798678886-4 jpg
http://8ch.net/wx/sre/1450798678886-3 jpg
 

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http://8ch.net/wx/sre/1450798678885-2.jpg
http://8ch.net/wx/sre/1450798678885-1 jpg
http://8ch.net/wx/srce/1450798678884-0.jpg
http://8ch.net/wx/res/42549.html#45 198
http://8ch.net/wx/res/42549.html#45 199
http://8ch.net/wx/res/42549.html#45278
http://8ch.net/wx/res/42549.html#45290
http://8ch.net/wx/res/42549.html#45335
http://8ch.net/wx/res/42549.html#45357
http://8ch.net/wx/sre/1451150963588.png
http://8ch.net/wx/res/42549.html#45390
https://8ch.net/player.php ?v=/wx/sre/ 144866031322 1-
l.webm&t=white%20v%20black.webm&loop=1
http://8ch.net/wx/res/42549.html#45824
http://8ch.net/wx/sre/1451888400002.jpg
http://8ch.net/wx/res/42549.html#47110
http://8ch.net/wx/sre/1453843534200.webm
http://8ch.net/wx/sre/1453844066281.webm
http://8ch.net/wx/sre/1454249620909.webm
http://8ch.net/wx/res/42549.html#497 13
http://8ch.net/wx/res/42549.html#49717
http://8ch.net/wx/res/42549.html#49878
http://8ch.net/wx/res/42549.html#499 15
http://8ch.net/wx/res/42549.html#50007
http://8ch.net/wx/sre/1457357488636-0.webm
http://8ch.net/wx/sre/1457357488637-1.webm
http://8ch.net/wx/sre/1457357526390-0.webm
http://8ch.net/wx/sre/1457357526392-1.webm
http://8ch.net/wx/res/42549.html#54323
http://8ch.net/wx/res/42549.html#54387
http://8ch.net/wx/res/42549.html#54400
http://8ch.net/wx/sre/14486603 13220-0.webm
http://8ch.net/wx/sre/1448660313221-1.webm

This letter is official notification under Section 512(c) of the Digital Millennium
Copyright Act (“DMCA”), and I seek the immediate removal of the aforementioned infringing
material from your website and servers.

1 am providing this notice in good faith and with the reasonable belief that PG Ventures
rights are being infringed. Under penalty of perjury I certify that the information contained in
this notification is both true and accurate and I have the authority to act on behalf of the owner of
the copyrights involved.
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Should you wish to discuss this with me please contact me directly. My contact
information is set forth above.

Very truly yours,

Aaron M. Minc

AMM:rp
Enc.
